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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                       Orlando Division
                              Case No.: 6:19-cv-01908-WWB-EKJ

    WYNDHAM VACATION OWNERSHIP, INC. a
    Delaware corporation; WYNDHAM VACATION
    RESORTS,         INC.,    a  Delaware corporation,
    WYNDHAM              RESORT       DEVELOPMENT
    CORPORATION; a Oregon Corporation; SHELL
    VACATIONS, LLC, an Arizona limited liability
    company; SVC-AMERICANA, LLC, an Arizona
    limited liability company; and SVC-HAWAII, LLC, a
    Hawaii limited liability company,                       PLAINTIFFS’ MOTION TO
                                                             STRIKE THE SLATTERY
           Plaintiffs,                                     DEFENDANTS’ AFFIRMATIVE
                                                                 DEFENSES AND
    v.                                                          INCORPORATED
                                                             MEMORANDUM OF LAW
    SLATTERY, SOBEL & DECAMP, LLP, a California
    limited liability partnership; DEL MAR LAW
    GROUP, LLP, a California limited liability
    partnership; CARLSBAD LAW GROUP, LLP, a
    California limited liability partnership; JL ‘SEAN’
    SLATTERY, an individual and resident of the State of
    California; PANDORA MARKETING, LLC f/k/a
    Timeshare Compliance, LLC d/b/a Timeshare
    Compliance and d/b/a timeshareexitcompanies.com
    and d/b/a timesharecancellationreviews.com, a
    Wyoming limited liability company; PANDORA
    SERVICING, LLC, a Wyoming limited liability
    company; INTERMARKETING MEDIA, LLC d/b/a
    Resort Advisory Group, a Wyoming limited liability
    company; POWER HAUS MARKETING INC., a
    California corporation; KENNETH EDDY a/k/a Ken
    Eddy, an individual and resident of the State of
    Oregon; RICH FOLK, an individual and resident of
    the State of California; WILLIAM WILSON a/k/a
    James Wilson a/k/a Bo Wilson, an individual and
    resident of the State of California; and ANDRIS
    PUKKE a/k/a Marc Romeo a/k/a Andy Storm, an
    individual and resident of the State of California,

           Defendants.
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           Plaintiffs (“Wyndham”), pursuant to Federal Rule of Civil Procedure 12(f), move to

    strike the First, Second, Third, Fourth, Fifth, Seventh, Ninth, Tenth, Eleventh, Twelfth, and

    Thirteenth Affirmative Defenses (“Purported Defenses”) asserted by Defendants, Slattery,

    Sobel & Decamp, LLP; Del Mar Law Group, LLP; Carlsbad Law Group, LLP; and JL

    “Sean” Slattery’s (collectively, “Slattery Defendants”). In support of their Motion to Strike,

    Wyndham states:

                                          BACKGROUND

           On January 21, 2020, Wyndham filed its Amended Complaint (“Complaint”),

    alleging that the Slattery Defendants engaged in contributory false advertising in violation of

    the Lanham Act (Count II), tortious interference with Wyndham timeshare owners’ contracts

    (Count IV), violations of the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)

    (Count V), and conspiracy to commit tortious interference (Count VI). (Doc. 36).

           The Slattery Defendants answered the Complaint, asserting thirteen affirmative

    defenses. (Doc. 44). The Purported Defenses are insufficiently pled and should be stricken.

                                        LEGAL STANDARD

           Pursuant to Fed. R. Civ. P. 12(f), “[t]he court may strike from a pleading an

    insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.”

           “An affirmative defense is a defense that admits to the complaint, but avoids liability,

    wholly or partly, by new allegations of excuse, justification or other negating matters.”

    Perlman v. Wells Fargo Bank, N.A., No. 10-81612-CV, 2014 WL 4449602, at *2 (S.D. Fla.

    Sept. 10, 2014) (citation and internal quotation marks omitted). “A defense which points out

    a defect in the plaintiff’s prima facie case is not an affirmative defense. Neither is a defense



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    that denies an allegation in the plaintiff’s complaint.” Id. (citations and internal quotation

    marks omitted).

           Affirmative defenses “are subject to the general pleading requirements of Rule 8(a)

    and will be stricken if they fail to recite more than bare-bones conclusory allegations.” Home

    Mgmt. Solutions, Inc. v. Prescient, Inc., No. 07-20608-CIV, 2007 WL 2412834, at *1–2

    (S.D. Fla. Aug. 21, 2007). “An affirmative defense will only be stricken, however, if the

    defense is “insufficient as a matter of law.” Vance v. Westfalia Techs., Inc., No. 8:12-CV-

    1902-EAK-TGW, 2013 WL 3270414, at *2 (M.D. Fla. Jun. 26, 2013). “An affirmative

    defense is insufficient as a matter of law only if: (1) on the face of the pleadings, it is patently

    frivolous, or (2) it is clearly invalid as a matter of law.” Adams v. JP Morgan Chase Bank,

    N.A., No. 3:11-cv-337-J-37MCR, 2011 WL 2938467, *1 (M.D. Fla. Jul. 21, 2011).

                                              ARGUMENT

           The Purported Defenses are not legally cognizable and therefore should be stricken.

           The First Affirmative Defense is titled “Privilege to Act as Attorney and Agent of

    Client” and is a collection of multiple purported affirmative defenses combined into a single

    alleged defense. (Doc. 44, pg. 13). It is inappropriate to conflate multiple defenses into one,

    which is confusing—especially when the defenses are overly conclusory, as is the case here.

    See United States ex rel. BAC Funding Consortium, Inc. v. Westchester Fire Ins. Co., No. 13-

    22536-CIV, 2014 WL 186125, at *4 (S.D. Fla. Jan. 16, 2014). The First Affirmative Defense

    claims: (1) the Wyndham Owners at issue were predisposed to terminate their contracts with

    Wyndham; (2) the timeshare contracts were unconscionable; and (3) that the Slattery

    Defendants “were not outsiders” to the timeshare contracts, and they had the privilege to



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    interfere as legal counsel whose interests were aligned with their clients. These are three

    separate and distinct purported affirmative defenses and are inappropriately raised together.

    Accordingly, they should be stricken.

               Also, each of the components of the First Affirmative Defense fail individually. As to

    the claim that the contract is unconscionable, that is duplicative of the unclean hands defense,

    discussed hereinbelow. As to the claim that Wyndham Owners were predisposed to terminate

    their contracts, the Slattery Defendants have failed to allege any factual predicate that would

    satisfy Rule 8. Moreover, this purported defense is not an affirmative defense which admits

    Wyndham’s allegations, yet seeks to avoid liability; rather it is merely a denial of

    Wyndham’s allegations that Defendants have caused Wyndham actual damages by deceiving

    Wyndham Owners into breaching their contracts. As such, it is inappropriate as an

    affirmative defense. Where an affirmative defense merely denies an element of plaintiff’s

    case, it should be regarded as a denial. See Pub. Risk Mgmt. of Fla. v. Munich Reinsurance

    Am., Inc., No. 8:18-CV-1449-MSS-AEP, 2018 WL 8344647, at *3 (M.D. Fla. Nov. 2, 2018).

    “A defense which points out a defect in the plaintiff's prima facie case is not an affirmative

    defense.” In re Rawson Food Serv., Inc., 846 F.2d 1343, 1349 (11th Cir. 1988); see also

    Pub. Risk Mgmt. of Fla., 2018 WL 8344647, at *1 (same).

               Likewise, the claim that the Slattery Defendants’ interests were aligned with

    Wyndham Owners’ and that they had the privilege to interfere is merely a denial of

    Wyndham’s tortious interference claim.1 Specifically, Wyndham’s tortious interference cause

    of action states that the Defendants (including the Slattery Defendants) acted with bad motive


    1
        As discussed below, it is also repetitive of the Ninth Affirmative Defense.



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    and improper purpose, and they did not have the privilege to interfere. (See Doc. 36, ¶ 205-

    06, 208, 213-217). Thus, this portion of the First Affirmative Defense is merely a denial and

    fails as an affirmative defense.

           The Second Affirmative Defense vaguely alleges the Slattery Defendants’ actions on

    behalf of Wyndham Owners, including sending correspondence to Wyndham, were taken in

    anticipation of litigation and “are afforded either absolute or qualified immunity pursuant to

    Florida’s litigation privilege.” (Doc. 44, pg. 13). The only privileged action even vaguely

    referenced in this purported defense is the Slattery Defendants’ act of sending alleged

    demand letters to Wyndham; this does not support a claim for litigation privilege. The

    litigation privilege does not apply to pre-suit demand letters that are not a necessary

    condition precedent to filing suit, as is especially apparent given that the Slattery Defendants

    did not typically file suit on behalf of the Wyndham Owners they purported to represent. See

    Trent v. Mortg. Elec. Registration Sys., Inc., 618 F. Supp. 2d 1356, 1361 (M.D. Fla. 2007)

    (“[T]his Court is unprepared to extend the litigation privilege to pre-suit communications

    especially where, as here, the parties agree that the law does not require that these notices be

    sent.”), aff’d, 288 F. App’x 571 (11th Cir. 2008); Orange Lake Country Club, Inc. v. Reed

    Hein & Assocs., LLC, 367 F. Supp. 3d 1360, 1372 (M.D. Fla. 2019) (finding that the

    litigation privilege immunity did not apply in a similar case); Westgate Resorts, Ltd. v.

    Sussman, 387 F. Supp. 3d 1318, 1353 (M.D. Fla. 2019) (finding similar litigation privilege

    argument “quickly disposable”). Thus, the Slattery Defendants cannot claim the litigation

    privilege here. The bare-bones Second Affirmative Defense should be stricken.




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           The Third Affirmative Defense asserts that the Wyndham’s allegations are barred by

    the First Amendment and Noerr-Pennington Doctrine. This defense pleads only vague,

    conclusory facts based on the idea that the Slattery Defendants assisted their clients in

    supposedly petitioning the government for redress. However, courts have rejected similar

    defenses in virtually identical cases, holding that baseless demand letters like the ones sent in

    this suit, particularly when they are not followed up on with actual lawsuits, are not protected

    activity. See, e.g., Orange Lake Country Club, Inc., 367 F. Supp. 3d at 1371–72 (finding that

    litigation privilege and Noerr-Pennington defenses did not bar claim where lawyer’s demand

    letters were shams and he did not intend to file suit); Westgate Resorts, Ltd., 387 F. Supp. 3d

    at 1353     (rejecting litigation privilege and Noerr-Pennington defenses as “quickly

    disposable”). Here especially, when the Slattery Defendants fail to include any specific,

    supporting facts, this insufficient defense should be stricken. See Wyndham Vacation

    Ownership, Inc. v. Reed Hein & Assocs., LLC, No. 6:18-cv-2171-Orl-31DCI, at 5 (M.D. Fla.

    Dec. 17, 2019) (striking bare-bones First Amendment defense). The Third Affirmative

    Defense should be stricken.

           The Fourth Affirmative Defense alleges Wyndham’s contracts with the Wyndham

    Owners at issue were “obtained through fraud, misrepresentations and inappropriate

    methods,” rendering them void or voidable. (Doc. 44, pg. 14). This purported defense is

    devoid of any factual predicate or factual allegations to support it. “Because the affirmative

    defense includes allegations of fraud, it must be pled with particularity per Federal Rule of

    Civil Procedure 9(b).” Colon v. Fource Hotel Properties, LLC, 8:10-CV-2700-T-23MAP,

    2011 WL 13302684, at *1 (M.D. Fla. Jan. 21, 2011). Rule 9(b) requires that allegations



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    regarding fraud or mistake state with particularity the circumstances constituting fraud or

    mistake. Fed. R. Civ. P. 9(b). The Slattery Defendants’ bare-bones Fourth Affirmative

    Defense falls far short of this standard and should be stricken.

           The Fifth Affirmative Defense asserts unclean hands. (Doc. 44, pg. 14). To establish

    unclean hands, the defendants must show that “[they were] personally injured by [the

    plaintiff’s] conduct.” Calloway v. Partners Nat’l Health Plans, 986 F.2d 446, 450–51 (11th

    Cir. 1993). That requirement is not met here. The Slattery Defendants have not pled, and

    cannot plead, that they were personally injured by Wyndham’s conduct. Any assertion that

    the owners were harmed by Wyndham’s alleged conduct cannot possibly establish that the

    Slattery Defendants have an unclean hands defense against Wyndham. See Orange Lake

    Country Club, Inc. v. Reed Hein & Assocs., LLC, No. 6:17-cv-1542-Orl-31DCI (M.D. Fla.

    Feb. 7, 2019) (Irick, M.J.) (Doc. 284, pp. 3–4) (holding that “whether Plaintiffs had unclean

    hands in dealing with their timeshare owners is not an issue as it pertains to Defendants’

    affirmative defense of unclean hands” and striking unclean hands defenses as “legally

    insufficient”). The legally insufficient Fifth Affirmative Defense should be stricken.

           The Slattery Defendants’ Seventh Affirmative Defense comprises a single sentence

    claiming multiple defenses of release, waiver, and estoppel. As discussed above, it is

    improper to combine multiple alleged defenses into a single alleged defense. Moreover, as to

    the estoppel defense, the Slattery Defendants’ sparse allegations do not support any defense

    on behalf of the Slattery Defendants themselves. For instance, “[t]he elements of equitable

    estoppel are (1) a representation as to a material fact that is contrary to a later-asserted

    position, (2) reliance on that representation, and (3) a change in position detrimental to the



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    party claiming estoppel, caused by the representation and reliance thereon.” Starbuck v. R.J.

    Reynolds Tobacco Co., 349 F. Supp. 3d 1223, 1228 (M.D. Fla. 2018). Even if Wyndham had

    made some representation to Wyndham Owners contrary to Wyndham’s current position—

    which it did not—the Slattery Defendants have not pled (and cannot logically plead) that

    Wyndham purportedly going back on its word with regard to those Wyndham Owners

    somehow damaged the Slattery Defendants themselves. Thus, the Seventh Affirmative

    Defense should be stricken.

           The Ninth Affirmative Defense appears to be repetitive of the First Affirmative

    Defense, asserting the Slattery Defendants were privileged to interfere as legal counsel. The

    Ninth Affirmative Defense—again a one-sentence statement—apparently asserts that legal

    advice to breach a contract is privileged. (Doc. 44, pg. 16). As discussed herein, this

    purported defense is not only duplicative, but is further improper as it is merely a denial of

    Wyndham’s claims that the Slattery Defendants did not possess this privilege and the Ninth

    Affirmative Defense should be stricken.

           The Tenth Affirmative Defense fails to raise any legal defense but rather asserts an

    evidentiary issue that is premature and inappropriate for consideration at this time. That

    purported defense claims this civil action violates the Slattery Defendants’ due process rights

    because they will be precluded from disclosing conversations with their clients needed to

    defend against Wyndham’s claims. Whether privilege attaches to any conversations between

    the Slattery Defendants and their clients and whether any such communications are

    admissible will be determined as those issues arise. The Tenth Affirmative Defense




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    prematurely and improvidently raises evidentiary issues and is not a legally cognizable

    defense; accordingly, it should be stricken.

           Finally, the Eleventh, Twelfth, and Thirteenth Affirmative Defenses allege that

    Plaintiffs SVC-Hawaii, LLC, SVC-Americana, LLC, and Shell Vacations, LLC are foreign

    limited liability companies that lack standing to bring this lawsuit because they do not have

    certificates of authority to transact business in Florida pursuant to Florida Statutes §

    605.0904. (Doc. 44, pg. 17). These purported defenses all fail. First, the Slattery Defendants

    are challenging these entities’ capacity to sue, which is not an affirmative defense. Luxor

    Agentes Autonomos De Investimientos, LTDA. v. Oliveira, No. 13-CV-20806, 2014 WL

    11878426, at *3 (S.D. Fla. Nov. 3, 2014) (“While many courts have treated a challenge to

    capacity as an affirmative defense, the Eleventh Circuit regards a capacity challenge as a

    specific denial.”) (internal citations omitted) (citing Pugh v. Kobelco Const. Machinery Am.,

    LLC, 413 F.App’x 134, 136 (11th Cir. 2011)). Second, “Maintaining, defending, or settling

    any court proceeding is not considered to be transacting business.” Spa Creek Services, LLC

    v. S.W. Cole, Inc., 239 So. 3d 730, 736 (Fla. 5th DCA 2017). Accordingly, this defense must

    be dismissed as it is clearly invalid as a matter of law. See Adams, 2011 WL 2938467, *1.

                                           CONCLUSION

           WHEREFORE, Wyndham respectfully requests that the Court enter an Order:

    (1) granting this motion; (2) striking the Purported Defenses from the Slattery Defendants’

    Answer and Affirmative Defenses (Doc. 44); and (3) granting such further relief that the

    Court deems just and proper.




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                            LOCAL RULE 3.01(g) CERTIFICATION

            In compliance with Local Rule 3.01(g), on March 2, 2020, counsel for Plaintiffs had a

    good-faith conferral with counsel for the Slattery Defendants on the issues raised by this

    motion. Counsel advised that the Slattery Defendants object to the relief sought herein.

            Respectfully submitted,

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    Dated: March 3, 2020.

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